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   12                  IN THE UNITED STATES DISTRICT COURT
   13               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   14
        MONSTER ENERGY COMPANY,             ) Case No. 5:17-CV-00548-CBM-RAO
   15
        a Delaware corporation,             )
                                            ) OPENING BRIEF IN SUPPORT OF
   16
                    Plaintiff,              ) MONSTER ENERGY
                                            ) COMPANY’S MOTION FOR
   17
              v.                            ) PARTIAL SUMMARY
                                            ) JUDGMENT
   18
        INTEGRATED SUPPLY                   )
        NETWORK, LLC, a Florida limited     ) HEARING:
   19
        liability company,                  )
                                            ) April 17, 2018
   20
                    Defendant.              ) 10:00 a.m.
                                            ) Courtroom 8B
   21                                       )
                                            )
   22                                         Hon. Consuelo B. Marshall
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    1         Plaintiff Monster Energy Company (“Monster”) hereby moves for
    2   summary judgment against Defendant Integrated Supply Network, LLC (“ISN”)
    3   on (1) ISN’s affirmative defenses of trademark invalidity, trademark
    4   unenforceability, and unclean hands and (2) ISN’s counterclaim for cancellation
    5   of Monster’s trademark registrations.
    6             I. INTRODUCTION AND SUMMARY OF ARGUMENT
    7         Monster is the owner of the MONSTER ENERGY® trademark, one of the
    8   most heavily promoted and most famous trademarks in the nation. Monster
    9   filed this action alleging that ISN infringed Monster’s rights by using the
   10   trademarks MONSTER and MONSTER MOBILE, as well as Monster’s green
   11   and black trade dress and a variation of another Monster trademark, UNLEASH
   12   THE BEAST!®. Monster has asserted 36 federal trademark registrations for its
   13   MONSTER ENERGY® trademark and variations of it, and 11 federal trademark
   14   registrations for the trademark UNLEASH THE BEAST!® and variations of it.1
   15         As defenses, ISN asserts that all 47 of Monster’s trademark registrations
   16   are invalid, that Monster has misused its trademarks by asserting infringement
   17   claims with “no realistic chance” of success, and that Monster has unclean
   18   hands. ISN also filed a counterclaim seeking cancellation of some, but not all of
   19   Monster’s registrations. Monster now moves for summary judgment on these
   20   affirmative defenses and the counterclaim.
   21         ISN’s main defense is that Monster’s marks allegedly lack secondary
   22   meaning. That is, ISN asserts that the relevant consuming public does not
   23   recognize Monster’s trademarks as trademarks.         This assertion is simply
   24   preposterous. As an initial matter, Monster’s marks are inherently distinctive,
   25   and thus, as a matter of law, no showing of secondary meaning is even required.
   26         1
                 Since filing its Complaint, Monster has voluntarily abandoned one of its
        registrations, Registration No. 3,924,797 for ASSAULT M MONSTER
   27   ENERGY, because it is no longer in use. Monster is no longer asserting this
        registration in this action.
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    1   Moreover, the undisputed evidence establishes that Monster’s marks are among
    2   the most heavily promoted and famous brands in the United States, clearly
    3   establishing secondary meaning. In addition, ISN has the burden of proving its
    4   defense of lack of secondary meaning because Monster’s marks are federally
    5   registered. ISN has come forward with no evidence that is even probative of the
    6   issue.
    7            ISN also asserts that two of Monster’s registrations are invalid because
    8   Monster allegedly has not used its trademarks in connection with the services
    9   listed in the registration – the promotion of sports and music events for others.
   10   Again, this defense is entirely baseless. The undisputed evidence shows that
   11   Monster has used its trademarks to promote the sports and music events of
   12   others continuously and extensively since at least 2003. Again, ISN has the
   13   burden of proving the contrary and has come forward with no such evidence.
   14            ISN’s assertion that Monster has misused its trademarks by “bullying”
   15   defendants with weak claims of infringement is perhaps even more frivolous.
   16   Trademark misuse through bullying is not even a recognized defense in
   17   trademark law. Moreover, the activity of which ISN complains – the filing of
   18   trademark infringement lawsuits – is protected by the First Amendment as a
   19   form of petitioning the government for redress.
   20            Furthermore, ISN has no evidence tending to show that Monster has ever
   21   asserted its trademarks without a reasonable basis.        ISN appears to rely
   22   primarily upon the present case as proof. Here, however, ISN not only adopted
   23   the MONSTER mark, but it also adopted Monster’s trade dress and a variant of
   24   Monster’s UNLEASH THE BEAST!® mark.                Thus, it appears that ISN is
   25   intentionally trading on Monster’s goodwill. Indeed, when Monster was named
   26   the sponsor of NASCAR’s races, ISN’s executives enthused that “This could be
   27   good for our Monster brand” and it “Certainly creates awareness!” Ex. 352.
   28            2
                     Exhibits 1-20 are attached to the Declaration of Rodney Sacks, and
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    1   Under these circumstances, to call Monster’s infringement suit baseless is itself
    2   baseless.
    3         ISN’s unclean hands defense is also baseless. The defense is premised
    4   entirely on an unsuccessful argument Monster made to the Patent & Trademark
    5   Office (“PTO”) 15 years ago. ISN contends that Monster’s current position is
    6   inconsistent with that argument, and Monster should be held to the position it
    7   unsuccessfully advocated 15 years ago. However, the PTO never accepted
    8   Monster’s argument. Consequently, as a matter of law, Monster is not estopped
    9   or otherwise barred from taking a different position today. Moreover, even if it
   10   were barred, Monster’s position today is consistent with the position it took 15
   11   years ago.
   12         Finally, ISN’s counterclaim, which merely incorporates ISN’s defenses,
   13   is baseless for all the same reasons. Accordingly, this Court should grant
   14   summary judgment against ISN on its counterclaim and the disputed affirmative
   15   defenses.
   16                         II. FACTUAL BACKGROUND
   17   A.    Monster, Its Trademarks, And Its Trade Dress
   18         Monster is a nationwide leader in the business of developing, marketing,
   19   selling, and distributing beverages. In 2002, Monster launched its MONSTER
   20   ENERGY® drink brand, bearing its now-famous MONSTER™ and MONSTER
   21   ENERGY® trademarks. Sacks Decl. ¶ 3. Monster now uses literally dozens of
   22   different trademarks that incorporate the basic MONSTER™ trademark,
   23   including such trademarks as MONSTER REHAB®, MUSCLE MONSTER®,
   24   JUICE MONSTER®, MONSTER ASSAULT®, PUNCH MONSTER®, JAVA
   25   MONSTER®, UBERMONSTER®, MONSTER UNLEADED®, and many others
   26   (“the MONSTER Marks”). Id. at ¶ 6. Nearly all of the MONSTER Marks are
   27   Exhibits 21-48 are attached to the Declaration of Jason A. Champion, both filed
        concurrently herewith.
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     1   federally registered. See Dkt. No. 1, Exs. A1-A36.
     2         Also in 2002, Monster launched its now-famous UNLEASH THE
     3   BEAST!® trademark. Sacks Decl. ¶ 3. As with the MONSTER Marks, the
     4   UNLEASH THE BEAST!® trademark rapidly expanded to become a large
     5   family of marks, including PUMP UP THE BEAST!®, REHAB THE BEAST!®,
     6   UNLEASH THE NITRO BEAST!®, UNLEASH THE ULTRA BEAST!®, and
     7   many others (“the BEAST Marks”). Id. at ¶ 7. Again, nearly all of the BEAST
     8   Marks are federally registered. See Dkt. No. 1, Exs. B1-B11.
     9         Also since 2002, Monster has consistently used a green and black trade
    10   dress for its packaging and promotional materials (“the MONSTER Trade
    11   Dress”). Sacks Decl. ¶ 4, Ex. 1. An example of the MONSTER Trade Dress,
    12   together with the original MONSTER ENERGY® and UNLEASH THE
    13   BEAST!® trademarks, is shown below. Id. at ¶ 4, Exs. 1, 15.
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    24         While Monster’s main product line is beverages, Monster has long used
    25   its MONSTER Marks, BEAST Marks, and MONSTER Trade Dress on a wide
    26   variety of other products, including clothing, such as t-shirts, sweatshirts,
    27   gloves, and caps. A few examples are shown below. Sacks Decl. ¶ 4, Ex. 1.
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    18         In addition to apparel, Monster’s MONSTER ENERGY® trademark and
    19   other trademarks have appeared on many products associated with the
    20   automotive industry. These products include motorcycles, motorcycle helmets,
    21   replica cars, and wheels for trucks, as shown below. Id. at ¶ 5, Ex. 2.
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    23         In addition, since at least 2003, Monster has been very actively promoting
    24   and sponsoring sporting events and music concerts under the MONSTER
    25   ENERGY® trademark. Id. at ¶ 9. Monster has been particularly active in
    26   promoting and sponsoring motorsports and the athletes who participate in
    27   motorsports. Id. at ¶¶ 9-14, Exs. 3-6. One of Monster’s earliest sponsorships
    28   was for the Balls of Steel Stunt Show, which features motorcyclists riding inside
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     1   a hollow spherical steel cage. This sponsorship began in 2003. Id. at ¶ 11, Ex.
     2   4. Since that time, Monster has sponsored a wide variety of motorsport athletes,
     3   teams, and activities, including NASCAR, Formula 1, MotoGP, Moto2,
     4   Supercross, motocross, MXGP, MX2, drag racing, drifting, flat track, off road,
     5   rally, rallycross, snowmobile, speedway, stunt, superbike, and freestyle
     6   motocross. Id. at ¶ 10, Ex. 3. For nearly all of these sponsorships, Monster’s
     7   MONSTER Marks and MONSTER Trade Dress are prominently featured on the
     8   athletes’ vehicles and clothing, and they are often displayed on banners
     9   throughout the venue hosting the competition. An example is shown below. Id.
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    21   Moreover, Monster promotes all of these events on its website, thereby raising
    22   awareness of the events and benefiting the event’s promoter. Sacks Decl. ¶ 9.
    23         On January 1, 2017, Monster became the title sponsor of NASCAR’s
    24   premier series (formerly called the NASCAR Sprint Cup Series), which is now
    25   called the Monster Energy® NASCAR Cup Series. Id. at ¶ 14. Monster also
    26   became the official energy drink of NASCAR. Id. NASCAR is the second
    27   most watched sport in the U.S., with over 5 million fans watching each of the 41
    28   races. Id.
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     1         Because Monster’s promotional and sponsorship activities are so
     2   extensive, Monster has even obtained a federal trademark registration for
     3   MONSTER ENERGY® for the specific services of “promoting goods and
     4   services in the sports, motorsports, electronic sports, and music industries
     5   through the distribution of printed, audio and visual promotional materials;
     6   promoting sports and music events and competitions for others.” Dkt. No. 1,
     7   Ex. A1. This registration is U.S. Trademark Registration No. 4,721,433 (“the
     8   ‘433 Registration”). Monster has also obtained a registration for its famous “M-
     9   Claw” logo      for these same services. That registration is U.S. Trademark
    10   Registration No. 4,721,432 (“the ‘432 Registration”). Ex. 46.
    11         Through these promotional and sponsorship activities, as well as through
    12   the sales of beverages, the MONSTER Marks and the BEAST Marks have
    13   acquired incredible consumer recognition and fame. Since 2002, Monster has
    14   spent over $4.6 billion in advertising, promoting, and marketing the MONSTER
    15   Marks and the BEAST Marks. Sacks Decl. ¶ 8. In 2017 alone, Monster spent
    16   $537 million in advertising, promoting, and marketing its brand and marks. Id.
    17   Monster now sells approximately 3 billion cans of drinks per year, with
    18   estimated retail sales at approximately $6 billion per year. Id. at ¶ 37. The
    19   MONSTER brand has established itself as the best-selling energy drink brand in
    20   the United States by unit volume and dollar value. Id. In fact an independent
    21   third party has ranked the MONSTER brand as the tenth most popular brand in
    22   the world. Id. at ¶ 36, Ex. 20.
    23   B.    ISN, Its Trademarks, And Its Trade Dress
    24         ISN is engaged in the business of marketing and selling automotive tools
    25   and other products, such as t-shirts, sweatshirts, gloves, and snacks. ISN sells
    26   its products under many brand names, one of which is MONSTER.
    27         ISN launched its MONSTER brand in December 2010. Ex. 36 at 11:3-8.
    28   Starting in 2013, it began sometimes using the name MONSTER MOBILE.
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     1   Exs. 37-38; 41.     But it made the deliberate decision to emphasize the
     2   “MONSTER” portion of the name, and de-emphasize the “MOBILE” portion.
     3   In fact, internal emails reveal that ISN included the word “MOBILE” in its mark
     4   only to make it easier to register the mark with the Patent and Trademark Office.
     5   Exs. 38; 41. Those same emails show that ISN wanted to make the “MOBILE”
     6   portion of its trademark as small as possible. Id. Commercially, even today,
     7   ISN often omits the “MOBILE” portion of its mark from its products altogether,
     8   and marks its products with just the word “MONSTER.” These “MONSTER”
     9   products include ISN’s tools, hats, t-shirts, sweatshirts, water bottles, and
    10   beverage tumblers, all offered under the MONSTER brand without the word
    11   “MOBILE.” Ex. 29-31; 33; 39; 42-43.
    12         ISN has also chosen to use the same green and black trade dress as
    13   Monster. In fact, the specific shade of green chosen by ISN is known as
    14   Pantone 376, which is essentially identical to Monster’s Pantone 375. Ex. 21.
    15   ISN even calls the shade of green that it uses “Monster green.”          Ex. 24.
    16   Examples of ISN’s MONSTER and MONSTER MOBILE branded products
    17   using green and black trade dress are shown below.
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    19         ISN has also chosen to use a variant of Monster’s UNLEASH THE
    20   BEAST!® trademark. ISN has marketed so-called “Monster Snacks” using the
    21   trademark “FEED THE BEAST.” This is shown below. Ex. 26.
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    12   C.    The Present Infringement Action
    13         Because ISN is causing consumer confusion by using the trademarks
    14   MONSTER and MONSTER MOBILE, as well as green and black trade dress
    15   and a variant of the UNLEASH THE BEAST!® trademark, Monster filed this
    16   action against ISN for trademark and trade dress infringement.          Monster
    17   believes that ISN’s simultaneous use of all of these source identifiers in
    18   combination evidences an unmistakable intent by ISN to trade upon Monster’s
    19   goodwill. This is confirmed by ISN’s reaction to Monster’s selection as the title
    20   sponsor of NASCAR’s races. ISN was very happy with this selection, gushing
    21   that “This could be good for our Monster brand” and it “Certainly creates
    22   awareness!” Ex. 35.
    23         In response to this suit, ISN has frivolously asserted as an affirmative
    24   defense that Monster’s trademarks are “invalid and/or unenforceable.” Dkt. No.
    25   10 ¶ 84.    ISN is alleging that all 36 of the registrations for the asserted
    26   MONSTER Marks and all 11 of the registrations for the asserted BEAST Marks
    27   are invalid or unenforceable. Ex. 45.
    28         In discovery, ISN has articulated two theories of invalidity against all of
                                                 -11-
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     1   Monster’s asserted trademarks.      First, ISN has argued that the MONSTER
     2   Marks and the BEAST Marks lack secondary meaning. Ex. 22 at 15-27. That
     3   is, ISN claims that consumers do not associate the MONSTER Marks or the
     4   BEAST Marks with Monster, even though the undisputed evidence establishes
     5   that Monster’s marks are among the most famous in the country. Second, ISN
     6   has argued that MONSTER “misused” its trademarks by “bullying” ISN and
     7   third parties with weak claims of trademark infringement. Id. at 33-34. ISN
     8   asserts this defense even though “misuse” through “bullying” is not a legally
     9   recognized defense and even though ISN has no evidence that Monster has
    10   brought unreasonable claims of trademark infringement against anyone.
    11         ISN also asserts an additional invalidity defense against Monster’s
    12   registration of MONSTER ENERGY® for use in promoting sports and music
    13   events and competitions for others. ISN contends that Monster has never used
    14   the MONSTER ENERGY® mark for this purpose even though, again, all
    15   evidence is to the contrary. See id. at 32-33.
    16         In a separate affirmative defense, ISN alleges that Monster’s infringement
    17   claims are barred by “unclean hands.” Dkt. No. 10 ¶ 89. According to ISN,
    18   Monster told the PTO 15 years ago that multiple companies could operate
    19   simultaneously under MONSTER-based trademarks, and Monster now has
    20   allegedly advanced a different point of view in this Court. Ex. 22 at 35-37. ISN
    21   advances this defense even though the PTO never relied on Monster’s argument
    22   15 years ago. Moreover, Monster’s position today is consistent with its former
    23   position. In the past 15 years, Monster has developed much stronger trademark
    24   rights than it had in 2003, making Monster’s statements about the marketplace
    25   15 years ago completely inapplicable today.
    26         Finally, ISN has filed a counterclaim seeking cancellation of 21 of the
    27   registrations for the MONSTER Marks and 10 of the registrations for the
    28   BEAST Marks. Dkt. No. 10 ¶¶ 101-102. Through the meet-and-confer process,
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     1   ISN agreed to limit its cancellation counterclaim to two registrations: the ‘432
     2   and ‘433 Registrations. Ex. 44. The grounds for cancellation are not articulated
     3   with precision; but they appear to be the same grounds that ISN has raised in
     4   connection with its affirmative defenses – lack of secondary meaning, trademark
     5   misuse through bullying, non-use of the MONSTER ENERGY® mark in
     6   connection with promoting sports and music events, and unclean hands based
     7   upon a statement to the PTO.
     8         Monster now moves for summary judgment on ISN’s affirmative
     9   defenses of invalidity and unclean hands, and ISN’s cancellation counterclaim.
    10                   III. SUMMARY JUDGMENT STANDARD
    11         Summary judgment is appropriate where there is no genuine issue of
    12   material fact in dispute and the movant is entitled to judgment as a matter of
    13   law. Fed. R. Civ. P. 56(c). Where the non-moving party bears the burden of
    14   proof, “the burden on the moving party may be discharged by ‘showing’ – that
    15   is, pointing out to the district court – that there is an absence of evidence to
    16   support the nonmoving party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317,
    17   325 (1986). Here, ISN bears the burden of proving its defenses, and there is an
    18   absence of evidence supporting these defenses. In fact, there is undisputed
    19   evidence to the contrary. Moreover, in many cases, ISN’s defenses are not
    20   recognized in the law. Accordingly, summary judgment should be granted.
    21        IV. SUMMARY JUDGMENT SHOULD BE GRANTED ON THE
    22    DISPUTED AFFIRMATIVE DEFENSES AND THE COUNTERCLAIM
    23   A.    Summary Judgment Of Validity Should Be Granted On Monster’s
    24         Incontestable Trademark Registrations
    25         Under Section 15 of the Lanham Act, 15 U.S.C. § 1065, a trademark
    26   registration becomes incontestable after five years if certain procedural
    27   requirements are met. Once a registration becomes incontestable, it cannot be
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     1   challenged except on very limited grounds not applicable here.3 Id. (citing
     2   Section 14, Paragraph 3 of the Lanham Act, 15 U.S.C. § 1064 ¶ 3). Here,
     3   fifteen of Monster’s registrations have become incontestable:          Reg. Nos.
     4   2,769,364, 3,044,314, 3,044,315, 3,057,061, 3,134,841, 3,134,842, 3,740,050,
     5   3,852,118, 3,959,457, 3,908,600, 3,908,601, 3,914,828, 4,036,680, 4,036,681,
     6   and 4,111,964. Ex. 47. Accordingly, summary judgment should be granted on
     7   ISN’s defense that these registrations are invalid.
     8   B.    Summary Judgment Should Be Granted On ISN’s Defense Of
     9         Invalidity As To All Of Monster’s Registrations
    10         In its affirmative defense of invalidity, ISN challenges the validity of all
    11   36 of Monster’s federal registrations for its MONSTER Marks and all 11 of
    12   Monster’s federal registrations for its BEAST Marks.          Dkt. No. 10 ¶ 84.
    13   “[F]ederal registration provides ‘prima facie evidence’ of the mark’s validity
    14   and entitles the plaintiff to a ‘strong presumption’ that the mark is a protectable
    15   mark.” Zobmondo Entertainment v. Falls Media, 602 F.3d 1108, 1113 (9th Cir.
    16   2010) (citing 15 U.S.C. §§ 1057(b), 1115(a)). Accordingly, ISN bears the
    17   burden of proving that Monster’s registered marks are invalid. Id. at 1114. In
    18   fact, “the presumption of validity is a strong one, and the burden on the
    19   defendant necessary to overcome that presumption at summary judgment is
    20   heavy.” Id. at 1115.
    21   ///
    22
    23   ///
    24
    25
               3
                 Those grounds include that the mark has become generic or functional,
    26   that the mark has been abandoned, that the registration was obtained
         fraudulently, or that the mark is being used to misrepresent the source of the
    27   goods. 15 U.S.C. § 1064 ¶ 3. ISN has not alleged any of these grounds for
         invalidation.
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     1         1.        ISN’s Defense Of Lack Of Secondary Meaning Is Completely
     2                   Baseless For Many Reasons
     3                   a.    The MONSTER Marks And The BEAST Marks Are
     4                         Inherently Distinctive, And Thus No Proof Of Secondary
     5                         Meaning Is Required
     6         “To be valid and protectable, a mark must be ‘distinctive.’” Id. at 1113.
     7   A “mark is distinctive and capable of being protected if it either (1) is inherently
     8   distinctive or (2) has acquired distinctiveness through secondary meaning.”
     9   Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 769 (1992) (emphasis in
    10   original).     A mark is inherently distinctive and is automatically entitled to
    11   protection as a trademark if it does not describe the nature or qualities of the
    12   goods or services with which it is used.          J.T. McCarthy, McCarthy on
    13   Trademarks & Unfair Competition § 11:4 (5th ed. 2017) (“McCarthy”). See also
    14   Official Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1391-92 (9th Cir. 1993).
    15   Thus, when a mark is inherently distinctive, there is no need to prove that it has
    16   acquired secondary meaning. McCarthy § 11:1.
    17         Moreover, “[w]here the PTO issues a registration without requiring proof
    18   of secondary meaning, the presumption is that the mark is inherently
    19   distinctive.” Zobmondo, 602 F.3d at 1113-14. Here, the PTO did not require
    20   proof of secondary meaning for any of the registrations for the MONSTER
    21   Marks or the BEAST Marks. Ex. 47. Accordingly, the burden is on ISN to
    22   prove that Monster’s marks are not inherently distinctive. That is, ISN must
    23   prove that Monster’s marks describe the nature or quality of Monster’s products
    24   or services.
    25         ISN cannot meet its burden because it is plain that the MONSTER Marks
    26   and the BEAST Marks are not descriptive of the nature or quality of Monster’s
    27   goods and services.        For example, neither MONSTER ENERGY® nor
    28   UNLEASH THE BEAST!® describes in any way a characteristic of the
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     1   beverages sold by Monster. Similarly, these marks do not describe the apparel
     2   sold by Monster, or the sporting events or music events sponsored by Monster.
     3         ISN argues that the term “Monster” somehow describes the size of the
     4   cans of Monster’s drinks. Ex. 22 at 20. However, as ISN itself points out, the
     5   dictionary definition of “monster” is “any animal or thing huge in size” or
     6   “anything unnatural or monstrous.” Id. at 17. Monster’s drinks and cans are not
     7   an animal and cannot reasonably described as “unnatural or monstrous.” Thus,
     8   again, the term “Monster” is not descriptive of Monster’s drinks or their
     9   packaging. Likewise, “Beast” is not descriptive of Monster’s drinks or their
    10   packaging. Indeed, ISN has not even argued otherwise.
    11         Accordingly, the challenged trademarks are all valid as inherently
    12   distinctive. For this reason, ISN’s defense of lack of secondary meaning simply
    13   misses the point. There is no need to prove secondary meaning for an inherently
    14   distinctive mark. McCarthy § 11:1.
    15               b.     ISN Has Failed To Prove That The MONSTER Marks
    16                      And The BEAST Marks Lack Secondary Meaning
    17         Even if Monster’s marks needed secondary meaning to be valid, ISN’s
    18   invalidity defense would still fail because ISN has presented no evidence that
    19   Monster’s marks lack secondary meaning. A mark has secondary meaning
    20   when there is “a mental recognition in buyers’ and potential buyers’ minds that
    21   products connected with the [mark] emanate from or are associated with the
    22   same source.” Fleischer Studio, Inc. v. A.V.E.L.A., Inc., 654 F.3d 958, 967 (9th
    23   Cir. 2011). Thus, to prove invalidity, ISN must prove that consumers do not
    24   recognize that products bearing the MONSTER Marks or the BEAST Marks all
    25   come from a single source such as Monster.
    26         ISN has no proof of this. ISN has not conducted any survey showing that
    27   consumers do not associate products bearing the MONSTER Marks or the
    28   BEAST Marks with a single source. Nor has ISN offered any other evidence
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     1   that bears on secondary meaning for the MONSTER or BEAST marks.
     2         Instead, in discovery, ISN appeared to argue the term “MONSTER” by
     3   itself and the term “BEAST” by itself are not uniquely associated with Monster.
     4   Ex. 22 at 15-23. However, ISN is challenging the validity of each of the
     5   MONSTER and BEAST registrations, all of which include words or symbols in
     6   addition to the words “MONSTER” and “BEAST.” ISN does not even offer
     7   any attorney argument, let alone evidence, tending to establish that Monster’s
     8   full registered trademarks lack secondary meaning.        To the contrary, ISN
     9   concedes in its interrogatory response that the entire “unitary phrases” or “the
    10   entire logo” may have acquired secondary meaning. Ex. 22 at 20:20-23. The
    11   complete absence of any evidence that Monster’s marks lack secondary
    12   meaning mandates the grant of summary judgment on this defense.
    13                c.    There Is Overwhelming, Undisputed Evidence That The
    14                      MONSTER         And    BEAST      Marks     Have    Acquired
    15                      Secondary Meaning
    16         Even if Monster had the burden of proving secondary meaning, and it
    17   does not, there is overwhelming undisputed affirmative evidence of secondary
    18   meaning. Simply put, the MONSTER Marks and the BEAST Marks are among
    19   the most widely recognized and heavily promoted marks in the United States.
    20   As explained above, Monster has spent over $4.6 billion in advertising,
    21   promoting, and marketing the MONSTER Marks and the BEAST Marks. Sacks
    22   Decl. ¶ 8. In 2017 alone, Monster spent $537 million in advertising, promoting,
    23   and marketing its brand and marks. Id. Monster now sells approximately 3
    24   billion cans of drinks per year, with estimated retail sales at approximately $6
    25   billion per year. Id. at ¶ 37. As a result, Monster is one of the world’s ten most
    26   popular brands. Id. at ¶ 36, Ex. 20.
    27         This is extraordinary evidence of secondary meaning. “Public association
    28   of a business symbol with a certain source and quality of goods or services is
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     1   most often achieved through the dual channels of actual sales and advertising.”
     2   McCarthy § 15:50. Thus, as the Ninth Circuit has recognized, “[e]vidence of
     3   use and advertising over a substantial period of time is enough to establish
     4   secondary meaning.” Clamp Mfg. Co. v. Enco Mfg. Co., 870 F.2d 512, 517 (9th
     5   Cir. 1989).
     6         Accordingly, courts within the Ninth Circuit have repeatedly recognized
     7   that advertising and sales at Monster’s levels and much lower are more than
     8   sufficient to establish secondary meaning. VIP Products, LLC v. Jack Daniel’s
     9   Properties, No. CV 14-2057-PHX-SMM, 2016 WL 5408313 at *8 (D. Ariz.
    10   Sept. 27, 2016) (sales of 75 million cases of whiskey and advertising “in the
    11   hundreds of millions of dollars” established secondary meaning); Adidas
    12   America, Inc. v. Skechers USA, Inc., 149 F. Supp. 3d 1222, 1235 (D. Or. 2016)
    13   (sales of 40 million units and one million dollars in advertising established
    14   secondary meaning); Gucci Timepieces America v. Yidah Watch Co., No. CV
    15   97-6985-KMW-MANx, 1998 WL 650078 at *4 (C.D. Cal. Aug. 4, 1998) (sales
    16   of 27,000 units and advertising of $1.4 million established secondary meaning).
    17   See also Hansen Beverage Co. v. Cytosport, Inc., No. CV 09-0031-VBF-AGRx,
    18   2009 WL 5104260 (C.D. Cal. Nov. 4, 2009) (Monster’s predecessor established
    19   “strong secondary meaning” in 2009 with $500 million in advertising and $2
    20   billion in annual sales). There simply can be no genuine issue of fact that
    21   Monster’s extraordinary sales and advertising establish secondary meaning.
    22         2.      ISN’s Defense That Monster Has Never Used The MONSTER
    23                 ENERGY® Mark To Promote Sports And Music Events Is Also
    24                 Completely Baseless
    25         ISN next asserts that Monster has never used the MONSTER ENERGY®
    26   mark to promote sports and music events – the services listed in the ‘433
    27   Registration. ISN, which has the burden of proof, has not provided Monster
    28   with any evidence to support its defense.
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     1         Moreover, the undisputed evidence is overwhelming and to the contrary.
     2   Monster began promoting sports and music events under the MONSTER
     3   ENERGY® mark in 2003, when it began promoting the Balls of Steel Stunt
     4   Show. Sacks Decl. at ¶ 11, Ex. 4. Since that time, Monster’s promotion of
     5   sports and music events under its trademarks has expanded exponentially. Id. at
     6   ¶¶ 9-25, Exs. 3-13. For example, as discussed above, Monster has sponsored
     7   and promoted a wide variety of motorsport athletes, teams, and activities under
     8   its trademarks, including NASCAR, Formula 1, MotoGP, Moto2, Supercross,
     9   motocross, MXGP, MX2, drag racing, drifting, flat track, off road, rally,
    10   rallycross,     snowmobile,    speedway,      stunt,   superbike,   and   freestyle
    11   motocross. Id. at ¶ 10, Ex. 3. In addition, Monster has sponsored and promoted
    12   a variety of non-motor sports under the MONSTER ENERGY® mark, including
    13   the X-Games and the Ultimate Fighting Championship. Id. at ¶ 15. Further,
    14   Monster has sponsored and promoted a wide range of music events under its
    15   trademark, including OzzFest, the Monster Energy® Carolina Rebellion, Rock
    16   on the Range, Kansas City Rockfest, the EpiCenter Music Festival, the Vans
    17   Warp Tour, and many others. Id. at ¶¶ 16-18, Exs. 8-9.
    18         ISN appears to argue that this extensive evidence should be disregarded
    19   because Monster is not always paid for promoting and sponsoring events under
    20   its MONSTER ENERGY® mark.               Ex. 22 at 33:6.       Instead, Monster is
    21   compensated in the form of the positive publicity it receives from being
    22   associated with such popular events as NASCAR racing and the X-Games.
    23   Sacks Decl. ¶ 27. And the producers of the events receive a great benefit from
    24   Monster in the form of the publicity Monster generates for the events by
    25   promoting the events on Monster’s website and elsewhere. Id. at ¶ 26.
    26         The PTO has made clear that there is no requirement that a trademark
    27   owner be compensated monetarily for its services to be entitled to a valid
    28   registration.    The provision of services alone is sufficient for registration.
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     1   Capital Speakers Inc. v. Capital Speakers Club of Washington D.C.,
     2   Cancellation No. 19,861, 1996 WL 754043, at *5 n.3 (T.T.A.B. 1996); Central
     3   Mfg. Co. v. Board of Regents, Opposition No. 91125818, 2005 WL 2464005 at
     4   *4 (T.T.A.B. Sept. 30, 2005). Accordingly, ISN’s defense has no basis in law.
     5   Moreover, Monster does sometimes receive cash payments for its sponsorships,
     6   including from the EpiCenter Music Festival. Sacks Decl. ¶ 27. Thus, ISN’s
     7   defense has no basis in fact.
     8         3.     ISN’s Defense Of Trademark Misuse Through “Bullying” Is
     9                Legally And Factually Baseless
    10         ISN also alleges that Monster’s trademarks are invalid because Monster
    11   allegedly “has been abusing any trademark rights it may have by bullying third
    12   parties with relatively limited resources, who are also using marks that include
    13   the term ‘monster.’” Ex. 22 at 33. This, ISN contends, constitutes “trademark
    14   misuse” and invalidates Monster’s trademarks. Id. at 34.
    15         This defense fails as a matter of law. While courts and scholars have
    16   occasionally discussed a concept of “trademark misuse,” Monster is unaware of
    17   even a single case in which a court has invalidated a trademark on the ground of
    18   trademark misuse.     To the contrary, the courts have described “trademark
    19   misuse” as a “phantom defense,” Northwestern Corp. v. Gabriel Mfg. Co., 48
    20   U.S.P.Q.2d 1902, 1907 (N.D. Ill. 1998), and have been “reticent to even
    21   acknowledge the defense’s existence.” Id. at 1909.
    22         Equally important, whatever the boundaries of this ill-defined phantom
    23   defense, Monster is unaware of any court holding that allegations of “bullying”
    24   suffice to establish the defense. To the contrary, the PTO has repeatedly held
    25   that “bullying” or “overenforcement” is not a defense in trademark law. Ennis,
    26   Inc. v. Beling, Opposition No. 85324443, 2017 WL 412412 at *3, *8 (T.T.A.B.
    27   Jan. 12, 2017); Imagewear Apparel Corp. v. Majestic Roar, No. 91218736,
    28   2015 WL 9906657 at *2 (T.T.A.B. Jan. 12, 2015). “Rather, trademark owners
                                              -20-
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     1   are entitled to protect rights in their registered trademarks by seeking to
     2   preclude registration of what they believe to be confusingly similar marks.”
     3   Imagewear, 2015 WL 9906657 at *2.             Evidence of extensive enforcement
     4   efforts merely indicates that the trademark owner “actively polices” its marks.
     5   Id.
     6         ISN’s bullying defense is also factually baseless.       ISN points to no
     7   evidence that Monster has asserted its trademark rights against anyone without a
     8   reasonable basis.    Moreover, litigating such a defense would be virtually
     9   impossible and a tremendous waste of judicial resources. It would require
    10   numerous trials within a trial to determine the reasonableness of past actions,
    11   which would involve analyzing the evidence in all other cases.
    12         ISN seems to believe that the present case is an example of a baseless
    13   suit. Ex. 22 at 34:21. However, this position is frivolous. As discussed above,
    14   ISN adopted the MONSTER name, Monster’s green and black trade dress, and
    15   even a variant of Monster’s UNLEASH THE BEAST!® trademark. This trifecta
    16   smacks of a bad faith effort to trade on Monster’s goodwill and cause consumer
    17   confusion. So, too, does ISN’s enthusiastic reaction to Monster being named
    18   NASCAR’s title sponsor. Ex. 35. There is no explanation for this reaction
    19   other than ISN’s desire to trade off Monster’s goodwill. Thus, there can be no
    20   question that ISN’s conduct gave Monster a good faith basis to file this suit.
    21         Finally, the “bullying” defense proposed by ISN would violate a
    22   trademark owner’s First Amendment right to petition the courts for redress, as
    23   developed by the Supreme Court under the Noerr / Pennington doctrine. See
    24   generally Eastern R. Presidents Conference v. Noerr Motor Freight, 365 U.S.
    25   127 (1961); United Mine Workers v. Pennington, 381 U.S. 657 (1965). See also
    26   California Motor Transport Co. v. Trucking Unlimited, 404 U.S. 508, 510
    27   (1972) (extending the Noerr / Pennington doctrine to access to the courts).
    28   While the Noerr / Pennington doctrine originally arose in the antitrust context, it
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     1   is based on the First Amendment right to petition and therefore applies equally
     2   in all contexts. White v. Lee, 227 F.3d 1214, 1231 (9th Cir. 2000).
     3         Under this doctrine, a party is free under the First Amendment to file
     4   litigation or threaten to file litigation as long as the litigation is not a “sham.”
     5   Rock River Communications, Inc. v. Universal Music Group, Inc., 745 F.3d 343,
     6   351 (9th Cir. 2014). “A ‘sham’ lawsuit is one where the suit is both ‘objectively
     7   baseless in the sense that no reasonable litigant could realistically expect success
     8   on the merits’ and ‘an attempt to interfere directly with the business relationship
     9   of a competitor through the use of the governmental process – as opposed to the
    10   outcome of that process.” Id. (emphasis in original).
    11         Here, as discussed above, ISN has no evidence whatsoever that Monster
    12   has ever filed an objectively baseless suit. ISN’s suggestion that the present suit
    13   is objectively baseless is itself objectively baseless. Accordingly, the Noerr /
    14   Pennington doctrine applies, and ISN’s defense of bullying must be rejected.
    15   C.    Summary Judgment Should Be Granted On ISN’s Defense Of
    16         Unclean Hands
    17         ISN’s unclean hands defense is also meritless. ISN’s defense relies upon
    18   a dispute between Odwalla and Monster in 2003. At that time, Monster was
    19   seeking to register MONSTER ENERGY as its trademark. Odwalla opposed,
    20   arguing that confusion was likely with Odwalla’s B-Monster and C-Monster
    21   marks for use with juice. As an affirmative defense in the PTO Opposition
    22   proceedings, Monster argued: “because of the numerous trademark registrations
    23   and applications incorporating the word ‘MONSTER’ and the numerous
    24   ‘MONSTER’ marks existing in the marketplace, Odwalla has no grounds to
    25   assert exclusive or broad rights in Odwalla’s marks.” Ex. 48 at 3-4. Monster
    26   did not prevail at the PTO on this ground.              To the contrary, as ISN
    27   acknowledges, Monster obtained its registration by entering into a settlement
    28   agreement with Odwalla. Ex. 22 at 39.
                                                -22-
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     1           ISN now contends that Monster’s current position is inconsistent with its
     2   position in 2003, and that this alleged inconsistency bars Monster’s current
     3   assertion of rights. ISN’s defense once again is entirely baseless, both legally
     4   and factually.
     5           Legally, there is no doctrine of law or equity that precludes a party from
     6   advocating a position in one proceeding, and advocating a different position 15
     7   years later in a separate proceeding. The closest relevant doctrine is that of
     8   judicial estoppel. Under this doctrine, “where a party assumes a certain position
     9   in a legal proceeding, and succeeds in maintaining that position, he may not
    10   thereafter, simply because his interests have changed, assume a contrary
    11   position, especially if it be to the prejudice of the party who has acquiesced in
    12   the position formerly taken by him.” New Hampshire v. Maine, 532 U.S. 742,
    13   749 (2001) (emphasis added). “Absent success in a prior proceeding, a party’s
    14   later   inconsistent   position   introduces   no    risk   of   inconsistent   court
    15   determinations, and thus poses little threat to judicial integrity. Id. at 750-51.
    16           Here, Monster did not succeed in persuading the PTO that Odwalla had
    17   narrow rights because of the presence of other MONSTER-based marks.
    18   Instead, Monster settled with Odwalla. Thus, judicial estoppel cannot apply.
    19   New Hampshire, 532 U.S. at 750-51; Momoh v. Wells Fargo Bank, N.A., No.
    20   15-CV-04729-HSG, 2016 WL 8729939 at *4 (N.D. Cal. July 1, 2016)
    21   (“Without reliance and acceptance by the court in the other proceeding, judicial
    22   estoppel is not appropriate.”).
    23           Factually, Monster’s position today is consistent with its position in 2003.
    24   Back then, Monster argued only that Odwalla had narrow rights because of the
    25   presence of other MONSTER-based marks. Ex. 48 at 3-4. Fifteen years later,
    26   Monster is situated very differently than Odwalla was in 2003. As discussed
    27   above, Monster has developed an extraordinarily strong trademark, much
    28   stronger than Odwalla’s C-Monster mark in 2003. This great strength entitles
                                                 -23-
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     1   Monster to broader rights than Odwalla. Brookfield Communications v. West
     2   Coast Entertainment Corp., 174 F.3d 1036, 1058 (9th Cir. 1999) (the stronger
     3   the trademark, the greater the protection).
     4         Moreover, even if Monster’s marks were weak, ISN is not merely using
     5   one of Monster’s marks.       ISN has combined its “MONSTER” mark with
     6   Monster’s green and black trade dress, and with a variant of Monster’s
     7   UNLEASH THE BEAST!® trademark. Nothing Monster said in 2003 precludes
     8   it from asserting its rights against a party that is using both the MONSTER and
     9   BEAST family of marks and Monster’s green and black trade dress, all in
    10   combination.
    11   D.    Summary Judgment Should Be Granted On ISN’s Cancellation
    12         Counterclaim
    13         ISN’s cancellation counterclaim seeks to cancel the ‘432 and ‘433
    14   Registrations on the same grounds that ISN asserted in its invalidity defenses.
    15   For all the reasons just discussed, the cancellation counterclaim has no merit.
    16         ISN’s effort to cancel the ‘432 Registration is meritless for still another
    17   reason. The ‘432 Registration is directed to Monster’s M-Claw logo,           , by
    18   itself, without the words “MONSTER ENERGY.” Ex. 46. ISN has no standing
    19   to challenge this registration for the simple reason that Monster has never
    20   accused ISN of using the M-Claw logo, and ISN has never claimed any desire to
    21   use the M-Claw logo. Under Ninth Circuit law, “a cancellation petitioner must
    22   show that he is more than an intermeddler but rather has a personal interest, and
    23   that there is a real controversy between the parties.” Star-Kist Foods v. P.J.
    24   Rhodes & Co., 735 F.2d 346, 349 (9th Cir. 1984). The challenger “must show a
    25   real and rational basis for his belief that he would be damaged by the
    26   registration sought to be cancelled, stemming from an actual commercial or
    27   pecuniary interest in his own mark.” Id.
    28         ISN cannot meet this standard. There is simply no dispute between
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     1   Monster and ISN over the M-Claw logo.                ISN is nothing more than an
     2   intermeddler, seeking to punish Monster for filing suit against ISN on other
     3   trademarks and trade dress. For this reason as well, ISN’s claim for cancellation
     4   of the ‘432 Registration should be rejected on summary judgment.
     5                                     V. CONCLUSION
     6              Each of ISN’s disputed affirmative defenses fails as a matter of law, fails
     7   on the undisputed facts, or both. Accordingly, this Court should grant summary
     8   judgment in favor of Monster on these defenses and on the counterclaim that
     9   merely incorporates these defenses.
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    11                                      Respectfully submitted,
                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
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    14   Dated: March 20, 2018              By: /s/ Lynda J. Zadra-Symes
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